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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                       Plaintiff,                                    8:12CR391

         vs.
                                                                       ORDER
FRANK FIROZ,

                       Defendant.


         This matter is before the court on defendant’s Affidavit In Forma Pauperis (Filing No.

666) which the court construes as a Motion for Leave to Proceed In Forma Pauperis. The

defendant moves to proceed without being required to prepay fees or costs. The court finds the

motion should be granted.

         THEREFORE, IT IS ORDERED THAT:

         1.     The Affidavit In Forma Pauperis, (Filing No. 666), construed as a Motion for

Leave to Proceed In Forma Pauperis, is granted.

         2.     The court reporters are directed to prepare the transcripts for the hearings held

on August 11, 2014, November 4, 2014, and January 8, 2015.

         3.     The costs associated with preparing the transcripts shall be paid for by CJA

funds.

         4.     The Clerk’s Office is ordered to mail a copy of this order to the defendant’s

address pursuant to Filing No. 666.



         Dated this 24th day of July, 2015.

                                                    BY THE COURT:

                                                    s/ Joseph F. Bataillon
                                                    Senior United States District Judge
